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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

United States of America,

                     Plaintiff,                Case No. 20-cr-20433
                                               Honorable Paul D. Borman
vs.

Samuel George Baker,

                     Defendant.


            Application for Entry of Preliminary Order of Forfeiture


        The United States applies for entry of a Preliminary Order of Forfeiture in

this case. The entry of an order of forfeiture is consistent with the terms of the

parties’ Rule 11 Plea Agreement. In support of its Application, the government

states the following:

      I. Background

        On September 16, 2020, an Indictment was filed which charged the

defendant with Counts One through Four, Wire Fraud, in violation of 18 U.S.C. §

1343; Counts Five and Six, Aggravated Identity Theft, in violation of 18 U.S.C. §

1028A(a)(1); and Count Seven, Illegal Transactions with Access Devices, in

violation of 18 U.S.C. § 1029A(a)(5). (ECF No. 1).

        The Indictment sought criminal forfeiture pursuant to Federal Rule of
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Criminal Procedure 32.2(a), 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. §

2461(c), 18 U.S.C. 982(a)(2)(B) and 18 U.S.C. § 1029(c)(1)(C). (ECF No. 1).

      The United States filed a First Forfeiture Bill of Particulars on December 2,

2020, pursuant to Federal Rule of Criminal Procedure 7(f), to provide notice of

specific property the Government intended to forfeit upon conviction, including

but not limited to the following:

         • $187,200.00 in U.S. Currency found in various places within the
           residence at XXXXX Violet Drive, Southfield, MI;
         • Miscellaneous Jewelry, including:
           o Rolex Presidential Oyster Perpetual, S/N: S0V08440, Model: 218235
           o Rolex Submariner, S/N: 3V896755, Model: 126715CHNR
           o Rolex Sky Dweller, S/N: 083N0791, Model: 326935
           o Rolex Masterpiece Tridor, S/N: K557353, Model: 18948; and
         • Ten gold coins from the residence at XXXXX Violet Drive,
           Southfield, MI 48076

(ECF No. 31).

      On or about March 29, 2022, the defendant entered into a Rule 11 Plea

Agreement and pleaded guilty to Wire Fraud in violation of 18 U.S.C. § 1343, as

alleged in Count One of the Indictment and Aggravated Identity Theft in violation

of 18 U.S.C. § 1028A, as alleged in Count Five of the Indictment. (ECF No. 49).

      As part of his Rule 11, the defendant agreed to forfeit to the United States

any property, real or personal, which constitutes, or is derived from, proceeds

traceable to his violation of 18 U.S.C. § 1343, as charged in Count One of the

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Indictment, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), which

the defendant agreed included, but was not limited to, the following property:

          • $187,200.00 in U.S. Currency found in various places within the
            residence at XXXXX Violet Drive, Southfield, MI;
          • Miscellaneous Jewelry, including:
            o Rolex Presidential Oyster Perpetual, S/N: S0V08440, Model: 218235
            o Rolex Submariner, S/N: 3V896755, Model: 126715CHNR
            o Rolex Sky Dweller, S/N: 083N0791, Model: 326935
            o Rolex Masterpiece Tridor, S/N: K557353, Model: 18948; and
          • Ten gold coins from the residence at XXXXX Violet Drive,
            Southfield, MI 48076

(ECF No. 49, PageID.237-238). The Ten gold coins from the residence at XXXXX

Violet Drive, Southfield, MI 48076, are more now more accurately described by

the custodial agency as “(10) Assorted date $50 Gold American Eagle Coins.” As a

result, the property agreed to be forfeited to the United States, hereinafter the

“Subject Property,” is more specifically described as:

          • $187,200.00 in U.S. Currency found in various places within the
            residence at XXXXX Violet Drive, Southfield, MI;
          • Miscellaneous Jewelry, including:
            o Rolex Presidential Oyster Perpetual, S/N: S0V08440, Model: 218235
            o Rolex Submariner, S/N: 3V896755, Model: 126715CHNR
            o Rolex Sky Dweller, S/N: 083N0791, Model: 326935
            o Rolex Masterpiece Tridor, S/N: K557353, Model: 18948; and
          • (10) Assorted date $50 Gold American Eagle Coins.

      In addition to agreeing to forfeit his interest in the Subject Property, the

defendant expressly agreed “to the entry of one or more orders of forfeiture,

including the entry of a Preliminary Order of Forfeiture, incorporating the
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forfeiture of the Subject Property following defendant’s guilty plea, upon

application by the United States at, or any time before, his sentencing in this case

as mandated by Federal Rule of Criminal Procedure 32.2.” Id. at PageID.238.

The defendant further agreed that the Preliminary Order of Forfeiture would

become final as to the defendant upon being entered by the Court. Id.

      As part of his Rule 11, the defendant acknowledged that he understands that

the forfeiture of assets is part of the sentence that may be imposed in this case and

waives his right to challenge any failure by the Court to advise him of this pursuant

to Rule 11(b)(1)(J). The defendant further waived the requirements of Rule 32.2

and 43(a) regarding notice of the forfeiture in the charging instrument,

announcement of the forfeiture at sentencing, and incorporation of the forfeiture in

the judgment. (ECF No. 49, PageID.239).

   II. Discussion

         a. Forfeiture is Mandatory.

      The applicable forfeiture statutes in this case mandate that the Court impose

forfeiture as part of defendant’s sentence. 28 U.S.C. § 2461(c) (stating “the court

shall order the forfeiture of the property as part of the sentence”) (emphasis added).

The Sixth Circuit has also recognized that forfeiture is mandatory. United States v.

Hampton, 732 F.3d 687, 691 (6th Cir. 2013) cert. denied, 134 S. Ct. 947, 187 L.

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Ed. 2d 812 (2014) (referencing the statutes use of the verb “shall” and concluding

Congress intended the forfeiture provisions to be mandatory) (citing United States

v. Monsanto, 491 U.S. 600, 607 (1989)).

           b. The Forfeiture Amount.

        Federal Rule of Criminal Procedure 32.2(b)(1)(A) provides, in relevant part,

that:

           As soon as practical after … a plea of guilty … is accepted,
           on any count in an indictment or information regarding which
           criminal forfeiture is sought, the court must determine what
           property is subject to forfeiture under the applicable statute.
           If the government seeks forfeiture of specific property, the
           court must determine whether the government has established
           the requisite nexus between the property and the offense. If
           the government seeks a personal money judgment, the court
           must determine the amount of money that the defendant will
           be ordered to pay.

Rule 32.2 further provides that “[t]he court’s determination may be based on

evidence already in the record, including any written plea agreement . . . .” Fed. R.

Crim. P. 32.2(b)(1)(B) (emphasis added).

        The forfeiture statutes at issue also make clear that forfeiture is measured by

“[a]ny property, real or personal, which constitutes or is derived from proceeds

traceable to the offense ...” 18 U.S.C. § 981(a)(1)(C). In his Rule 11, defendant

agreed to forfeit any property, real or personal, which constitutes, or is derived

from, proceeds traceable to his violation of 18 U.S.C. § 1343, including the
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specifically enumerated Subject Property. (ECF No. 49, PageID.237).

           c. Entry of the Forfeiture Order.

        Rule 32.2 also provides for entry of a preliminary order of forfeiture, stating

that,

           If the court finds that property is subject to forfeiture, it must
           promptly enter a preliminary order of forfeiture setting forth
           the amount of any money judgment, directing the forfeiture
           of specific property, and directing the forfeiture of any
           substitute property if the government has met the statutory
           criteria.

Fed. R. Crim. P. 32.2(b)(2)(A).

        The defendant’s sentencing is currently scheduled for August 24, 2022,

making it appropriate for the Court to enter a Preliminary Order of Forfeiture at

this time. Any claims by third parties to the Subject Property shall be resolved

under the procedures set forth in 21 U.S.C. § 853(n), as stated in the proposed

Preliminary Order of Forfeiture submitted concurrently herewith. Fed. R. Crim. P.

32.2(b)(2)(A), (c).

        Consistent with the Rule 11 Agreement, on August 19, 2022, undersigned

counsel emailed Steven E. Scharg, defendant’s counsel, a proposed Stipulated

Preliminary Order of Forfeiture and requested concurrence for the submission of

the stipulated order. Defendant’s counsel responded by raising a potential claim of

defendant’s third-party family members as to one or more of the properties to be
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forfeited. The government responded that third-party interests are resolved after an

order of forfeiture is entered, see Rule 32.2(b)(2)(A), (c), noting further that the

defendant himself agreed to the forfeiture and that he also agreed to an order of

forfeiture being entered. On August 22, 2022, the government again attempted to

obtain the defendant’s position and concurrence regarding the entry of an order of

forfeiture consistent with the Rule 11 agreement, either by stipulation or the

government’s filing of an application for an order of forfeiture. The Government

did not receive a response regarding the defendant’s position prior to filing this

Application. The defendant’s agreement to forfeiture is, however, expressly

contained in the Rule 11 Agreement.

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   III.      Conclusion and Requested Relief

      Pursuant to 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c),

and Rule 32.2, and based upon the Indictment, the Rule 11 agreement to forfeiture,

the defendant’s guilty plea, this Application, and information contained in the

record, the United States respectfully requests that the Court enter the proposed

Preliminary Order of Forfeiture. The government will submit the proposed

Preliminary Order of Forfeiture to the Court via ECF utilities.

                                              Respectfully submitted,

                                              Dawn N. Ison
                                              United States Attorney

                                              S/Gjon Juncaj
                                              Gjon Juncaj (P63256)
                                              Assistant U.S. Attorney
                                              211 W. Fort Street, Ste. 2001
                                              Detroit, Michigan 48226
                                              (313) 226-0209
                                              Gjon.Juncaj@usdoj.gov

Dated: August 23, 2022




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                                  Certificate of Service

      I hereby certify that on August 23, 2022, the foregoing document was

electronically filed using the ECF system which will send notification of such

filing to all ECF participants.


                                                S/Gjon Juncaj
                                                Gjon Juncaj (P63256)
                                                Assistant U.S. Attorney
                                                211 W. Fort Street, Ste. 2001
                                                Detroit, Michigan 48226
                                                (313) 226-0209
                                                Gjon.Juncaj@usdoj.gov




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